x . Case 1:20-cv-00517-PB Document146- Filed 05/09/25 Pagelof4
#

: RECEIVED
U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service bee 7 nF See "Instructions for Service of Process by U.S. Marshal"
ADD d)4

PLAINTIFF COURT CASE NUMBER =~
William Soler Justice U.S. MARSHALS SexviCE 20-cv-517-PB a
DEFENDANT TYPE OF PROCESS : 4
State of NH, Governor, et al. 4/7/2025 End. Order, 131, 132 =

or i
NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEM¥ me

SERVE J Bret Richardson
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

23 Cabernet Drive, Unit 3, Concord, NH 03303

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW iiumiberofpromesea be
served with this Form 285 | 3

United States District Court Number of parties to be
55 Pleasant St, Room 110 served in this case 1
Concord, NH 03301

Check for service
| on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold Fold
Signature of Attomey other Originator requesting service on behalf of: PLAINTIFF TELEPHONE NUMBER DATE
\Lh Lliz. UYU OO perenpant —| 603-225-1473 4/8/25
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. Origin Serve
(Sign only for USM 285 if more xs UG yg (
than one USM 285 is submitted) No. No. } | L

I hereby certify and return that | C1 have personally served O have legal evidence of service, [1 have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

iA Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above) [1 A person of suitable age and discretion
then residing in defendant's usual place
of abode
Address (complete only different than shown above) Date Time ew,
a3 Caberact Arive oral 3 4/29) 9.10 am
aS” , O pm
Signature of U.S. Marshal or Deptity
Ouse “Avo, oS
7 =
Service Fee Total Mileage Charges| Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors) (Amount of Refund*)
$0.00

REMARKS: Cai with adult Femal who sf{rted tat Sho hes never heard of
Rrek Richardsen cad She as Nive ek 2D Coberach Oe Ural 2 B-  guce
J ter f
Wiciiiiieapaaeed |. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,

if any amount Is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 11/13

4/8/25, 1:05 PM USNHD Live CM/ECF - U.S. District Court

This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-
mail because the mail box is unattended. .

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attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of all
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to all other users. To avoid later charges, download a copy of each document during this first viewing.
However, if the referenced document is a transcript, the free copy and 30 page limit do not apply.

U.S. District Court
District of New Hampshire

Notice of Electronic Filing

The following transaction was entered on 04/08/2025 at 12:55:24 PM EDT and filed on 04/07/2025

Case Name: Justice v. Governor, NH, State of et al
Case Number: 1:20-cv-00517-PB

Filer:

Document Number:

Docket Text:

ENDORSED ORDER re [139] Agreement of Acceptance of Service. Text of Order:
The Office of the Attorney General declines service of the docketed pleadings and
orders on behalf of defendants Spencer Ryan and Bret Richardson (Doc. No. [139]).
The clerk's office is instructed to complete and issue a summons for those
defendants, using the last known address provided, and forward the summonses,
along with copies of this endorsed order, the amended complaint (Doc. No. [131])
and the addendum (Doc. No. [132]) to the U.S. Marshals Service, to complete
service on him or her in accordance with this Order and Fed. R. Civ. P. 4(c)(3) and
4(e). Defendants are instructed to answer the Complaint within twenty-one days of
service. See Fed. R. Civ. P. 12(a)(1)(A). So Ordered by Judge Paul J. Barbadoro.(ko)

https://nhd-ecf.sso.dcn/cgi-bin/DisplayReceipt.p!?103877947474634-L_1_0-1 2
_ Case 1:20-cv-00517-PB Document146_ Filed 05/09/25 Page 3of4

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of New Hampshire

William Soler Justice

Plaintiff(s)
V.

Civil Action No, 20-cv-517-PB RECEIVED
APR 10 2025

State of NH, Governor, et al.

U.S. MARSHALS SERVICE

Ne eee ee ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Bret Richardson
23 Cabernet Drive, Unit 3
Concord, NH 03303

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

US District Court

District of New Hampshire

55 Pleasant Street, Room 110
Concord, NH 03301-3941

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 04/08/2025 /s/ Kellie Otis
Signature of Clerk or Deputy Clerk

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 20-cv-517-PB

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

© I personally served the summons on the individual at (place)

on (date) 3; or

7 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) or
© I returned the summons unexecuted because 3 0r
O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
